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                         9 Special Counsel to Debtor

        v-)c>
                        10

                        11                          UNITED STATES BANKRUPTCY COURT
  A g    o
        WHO
  (/)
                        12                             EASTERN DISTRICT OF CALIFORNIA

                        13                                      FRESNO DIVISION
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                             In re:                                     Case No. 16-10015
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                        16
                           SOUTHERN INYO HEALTHCARE                     Chapter 9
                           DISTRICT,
                        17
                                          Debtor.                       NOTICE OF SETTLEMENT RE:
                        18                                              EMERGENCY MOTION (1) FOR
                                                                        AUTHORITY TO IMMEDIATELY
                        19                                              TERMINATE HCCA MANAGEMENT
                                                                        AGREEMENT OR, IN THE ALTERNATIVE,
                        20                                              FOR AUTHORITY TO MODIFY THE
                                                                        TERMS OF THE HCCA MANAGEMENT
                        21                                              AGREEMENT IN ORDER TO DESIGNATE
                                                                        THE BOARD AS THE SOLE SIGNATORY
                        22                                              ON ALL DISTRICT BANK ACCOUNTS;
                                                                        AND (2) TO CONTINUE HEARING ON
                                                                        SECOND AMENDED DISCLOSURE
                        23
                                                                        STATEMENT AND ASSOCIATED FILING
                                                                        DEADLINES [DOCKET NO. 325]
                        24
                                                                        Hearing:
                        25                                              Date:    November 29, 2017
                                                                        Time: 1:30 p.m.
                        26                                              Place: Dept. A, Courtroom 11
                                                                                 U.S. Bankruptcy Court
                        27                                                       2500 Tulare Street
                                                                                 Fresno, California 93721
                        28

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             1                                                    I.

            2                                            INTRODUCTION

            3             The Debtor, Southern Inyo Healthcare District ("Debtor"), through its special counsel,

            4 Dentons US LLP, by Samuel R. Maizel, hereby gives notice that it has reached a settlement

             5 related to the Debtor's Emergency Motion (1) for Authority to Immediately Terminate HCCA

            6 Management Agreement or, in the Alternative, for Authority to Modem the Terms of the HCCA

             7 Management Agreement in order to Designate the Board as the Sole Signatory on All District

            8 Bank Accounts and (2) to Continue Hearing on Second Amended Disclosure Statement and

            9 Associated Filing Deadlines [Docket No. 325] (the "Motion"). Generally, the settlement reached

           10 provides for HealthCare Conglomerate Associates, LLC ("HCCA") to stipulate to the rejection of

           11 its management agreement with the Debtor pursuant to § 365 of the Bankruptcy Code, and for the

           12 Debtor to withdraw two declarations filed in support of the Motion. The terms of the agreement

           13 (the "Stipulation") between the Debtor and HCCA are set forth in a Stipulation attached hereto as

           14 Exhibit A.

           15                                                    II.

           16                                      PROCEDURAL HISTORY

           17             The District owns and operates an acute care hospital, a clinic, and a skilled nursing

           18 facility (collectively, the "Facilities"). On January 4, 2016 (the "Petition Date"), the District filed a

           19 voluntary petition for relief under Chapter 9 of the Bankruptcy Code.

           20             The District and HCCA have a Management Services Agreement (the "Management

           21    Agreement"), which the Debtor sought to terminate by filing an Emergency Motion (1) for

           22 Authority to Immediately Terminate HCCA Management Agreement or, in the Alternative, for

           23 Authority to Modifi the Terms of the HCCA Management Agreement in order to Designate the

           24 Board as the Sole Signatory on All District Bank Accounts and (2) to Continue Hearing on Second

           25 Amended Disclosure Statement and Associated Filing Deadlines (the "Motion") [Docket No. 325].

           26 It was supported by two declarations: (i) Declaration of Jaque Hickman, and (ii) Declaration of

           27 Ashley McDow (collectively, the "Declarations").

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                          After a hearing on the Motion, the Court entered the Order Granting in Part Emergency

             2 Motion (1) for Authority to Immediately Terminate HCCA Management Agreement or, in the

             3 Alternative, for Authority to Modifi the Terms of the HCCA Management Agreement in order to

             4 Designate the Board as the Sole Signatory on all District Bank Accounts and (2) to Continue

             5 Hearing on Second Amended Disclosure Statement and Associated Filing Deadlines [Docket

             6 No. 335] (the "Order") on October 23, 2017, authorizing and directing the Debtor to remove

             7 HCCA as a signatory from any and all bank accounts containing District funds. The Order further

             8 directed the District to file a supplemental brief addressing, among other issues, whether the

            9 Management Agreement constitutes an executory contract within the meaning of § 365 of the

           10 Bankruptcy Code.

           11             Pursuant to the Court's Order, the Debtor filed its Supplemental Brief In Support of the

           12 Emergency Motion (1) for Authority to Immediately Terminate HCCA Management Agreement or,

           13    in the Alternative, for Authority to Modify the Terms of the HCCA Management Agreement in

           14 order to Designate the Board as the Sole Signatory on All District Bank Accounts and (2) to

           15 Continue Hearing on Second Amended Disclosure Statement and Associated Filing Deadlines on

           16 November 15, 2017 [Docket No. 371], arguing that the Management Agreement is an executory

           17 contract within the meaning of § 365 of the Bankruptcy Code and that the decision of the District's

           18 board to reject the Management Agreement is based on sound business judgment.

           19             The Court has scheduled a further hearing on the Motion for November 29, 2017, at

           20 1:30 p.m.

           21                                                   III.

           22                                            SETTLEMENT

           23             Subsequent to the hearing on the Motion, special counsel for the Debtor and counsel for

           24 HCCA engaged in negotiations to resolve the dispute over the Management Agreement. The

           25 District and HCCA want to avoid the cost and delay of litigation over whether the Court should

           26 approve rejection of the MSA, and thus, subject to the terms of the agreement portion of the

           27 Stipulation attached hereto as Exhibit A, HCCA agrees to the rejection of the MSA, and the

           28 Debtor agrees to withdraw the Declarations.

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                    1                                                IV.

                    2                                          CONCLUSION

                    3            The Debtor and HCCA request that the attached Stipulation reflecting the agreement

                    4 reached between the Debtor and HCCA be approved by the Court.

                    5

                    6 Dated: November 22, 2017                           DENTONS US LLP
                                                                         SAMUEL R. MAIZEL
                    7
                                                                         By     /s/ Samuel R. Maizel
                    8
                                                                                SAMUEL R. MAIZEL
                    9                                                    Special Counsel to Debtor

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            Exhibit
Filed 11/22/17                                      Case 16-10015                                                 Doc 377


                       4
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                      CYNTHIA J. LARSEN, CSB NO. 123994
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                              lholder@kleinlaw.com
                 12
                      Attorneys for Healthcare Conglomerate Associates, LLC
                 13

                 14                          UNITED STATES BANKRUPTCY COURT
                 15                EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                 16

                 17   In re:                                       Case No.: 16-10015-A-9
                 18
                      SOUTHERN INY0 HEALTHCARE                     Chapter 9
                 19   DISTRICT,
                                                                     oc. No. BH-19
                 20                    Debtor.
                                                                   STIPULATION RE REJECTION OF HCCA
                 21                                                MANAGEMENT AGREEMENT
                 22
                                                                   Date:    November 29, 2017
             23                                                     ime:    1:30 p.m.
                                                                    lace:   Dept. A, Courtroom 11
             24                                                       •     U.S. Bankruptcy Court
                                                                             2500 Tulare St.
             25                                                              Fresno, CA 93721
             26

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                                                                                    STIPULATION RE REJECTION OF HCCA
                                                                                            MANAGEMENT AGREEMENT
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                  1           Southern Inyo Heathcare District, the debtor in this chapter 9 case ("Debtor" or the

                  2   "District") and Healthcare Conglomerate Associates, LLC ("HCCA") agree to enter into the

                  3   following agreement based upon the following recitals:

                  4                                               RECITALS
                  5
                              1.      In January 2016, the District and HCCA entered into that certain Management
                  6
                      Services Agreement (the "MSA").
                  7
                              2.     On October 17, 2017, the District filed its Emergency Motion (1) for Authority to
                  8
                      Immediately Terminate HCCA Management Agreement, etc. [Dkt. No. 325] ("Emergency
                  9
                      Motion"), the Declaration of Ashley M. McDow, etc. [Dkt. No. 326] ("McDow Declaration") and
                 10
                      the Declaration of Jaque Hickman [Dkt, No. 327] (together with the McDow Declaration, the
                 11
                      "Declarations").
                 12

                 13           3.     On November 4, 2017, the Court entered its order [Dkt. No. 353] ("Scheduling

                 14   Order"), in which it set out the briefing deadlines and scheduled a hearing on the Emergency

                 15   Motion for November 29, 2017.

                 16
                              4.     Pursuant to the Scheduling Order, on November 15, 2017, the Debtor timely filed
                 17
                      its Supplemental Brief in Support of Emergency Motion, etc. [Dkt. No. 371] ("Supplemental
                 18
                      Brief'), The Supplemental Brief treated the Emergency Motion as a motion to reject the MSA
                 19
                      pursuant to Bankruptcy Code § 365(a) rather than as a motion to terminate the MSA.
                 20
                             5.      'While HCCA disputes virtually all of the factual allegations in the Emergency
                 21
                      Motion, the Declarations and the Supplemental Brief, HCCA agrees that the MSA is an executory
                 22
                      contract subject to rejection. And while HCCA believes that the MSA is a postpetition executory
                 23
                      contract, it agrees that § 365(a) applies whether the MSA is found to be a prepetition executory
                 24
                      contract or a postpetition executory contract.
             25
                             6.      The District and HCCA want to avoid the cost and delay of litigation over whether
             26
                      the Court should approve rejection of the MSA, and thus, subject to the terms of the following
             27
                      agreement portion of this Stipulation, HCCA agrees to the rejection of the MSA.
             28

                                                                                        STIPULATION RE REJECTION OF HCCA
                                                                       2
                                                                                                MANAGEMENT AGREEMENT
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                  1                                                 AGREEMENT

                  2
                              Based on the foregoing Recitals, and subject to an order of this Court approving this
                  3
                      Stipulation, the District and HCCA agree as follows:
                  4
                              A.     The District withdraws the Declarations.
                  5
                              B.     Other than finding that the MSA may be rejected as an exercise of the District's
                  6
                      business judgment, the Court makes no findings with respect to the allegations in the Emergency
                  7
                      Motion, the Declarations or the Supplemental Memorandum (collectively, the "Allegations").
                  8

                  9           C.     HCCA reserves the right to contest the Allegations, including, but not limited to

                 10   the allegation in the Supplemental Brief that the MSA is a prepetition contract.

                 11
                             D.      The MSA is rejected effective 14 days after the entry of the order approving this
                 12
                      Stipulation.
             13
                             E.      Pursuant to Rule 3002(c)(4) of the Federal Rules of Bankruptcy Procedure, the
             14
                      deadline for HCCA to file a proof of claim or proofs of claim (including but not limited to a proof
             15
                      of claim seeking administrative priority) is January 31, 2018. The District reserves its right to
             16
                      object to any HCCA proof or proofs of claim on any ground.
             17

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                                                                                         STIPULATION RE REJECTION OF HCCA
                                                                       3
                                                                                                  MANAGEMENT AGREEMENT
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                  1    Dated: November     ,2017               DENTONS USA LLP

                  2

                  3
                                                               By:
                  4                                                              SAMUEL R. MAIZEL
                                                                   L-' - Attsptieys, for Southern Inyo Healthcare
                  5                                                                        District
                  6   Dated: November 2- 2 , 2017             ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                              and KLEIN, DENATALE, GOLDNER,
                  7                                           COOPER, ROSENLIEB & KIMBALL LLP
                  8

                  9
                                                              B :
                 10                                                            MARC A. LEVINSON
                                                                        Attorneys for Healthcare Conglomerate
                 11                                                                Associates, LLC
                 12

                 13

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                      OHSUSA:767723021.2                                          STIPULATION RE REJECTION OF HCCA
                                                              -4
                                                                                           MANAGEMENT AGREEMENT
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                                             PROOF OF SERVICE OF DOCUMENT
    In re Southern Inyo Healthcare District
    USBC/EDCA Case No. 16-10015

    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
    South Figueroa Street, Suite 2500, Los Angeles, California 90017-5704.

    A true and correct copy of the foregoing document entitled (specify): NOTICE OF SETTLEMENT RE: EMERGENCY
    MOTION (1) FOR AUTHORITY TO IMMEDIATELY TERMINATE HCCA MANAGEMENT AGREEMENT OR, IN THE
    ALTERNATIVE, FOR AUTHORITY TO MODIFY THE TERMS OF THE HCCA MANAGEMENT AGREEMENT IN
    ORDER TO DESIGNATE THE BOARD AS THE SOLE SIGNATORY ON ALL DISTRICT BANK ACCOUNTS; AND (2)
    TO CONTINUE HEARING ON SECOND AMENDED DISCLOSURE STATEMENT AND ASSOCIATED FILING
    DEADLINES [DOCKET NO. 325] will be served or was served (a) on the judge in chambers in the form and manner
    required by LBR 5005-2(d); and (b) in the manner stated below.

    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
    Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
    November 22, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
    the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
    below:

    Heather S. Candy - #205900                                                   Counsel for Adventist Health System/West
    Adventist Health                                                             T: 916 746 5629
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    Roseville, CA 95661

    Gerald N. Sims - #099133                                                     Counsel for BETA Risk Management Authority
    Pyle Sims Duncan & Stevenson                                                 T: 619 687 5200 / F: 619 687 5210
    401 B Street, Suite 1500                                                     E: jerrys@psdslaw.com
    San Diego, CA 92101

    Craig D. Rust - #273774                                                      Counsel for California Department of Public Health
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    June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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    Fresno, CA 93720

                                                                                           ❑ Service information continued on attached page
    2. SERVED BY UNITED STATES MAIL: On (date) November 22, 2017, I will serve the following persons and/or entities
    at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
    a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
    constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

    Office of the U.S. Trustee                                                  U.S. Trustee
    United States Courthouse
    2500 Tulare Street, Room 1401
    Fresno, CA 93721-1326

    LeRoy Kritz                                                                 Creditor Committee
    PO Box 784
    Lone Pine, CA 93545-0784

    Onestaff Medical, LLC                                                       Creditor Committee
    Attn: Todd Livingston
    11819 Miracle Hills Drive, Suite 101
    Omaha, NE 68154-4428

    Joseph Rodrigues                                                            Health Care Ombudsman
    1300 National Drive, Suite 200
    Sacramento, CA 95834-1992

                                                                                           ❑ Service information continued on attached page
    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
    for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 22, 2017, I will serve the
    following persons and/or entities by personal delivery, next business day service or (for those who consented in writing to
    such service method) by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
    that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
    filed.

    Judge Fredrick E. Clement
    U.S. Bankruptcy Court for the Eastern District of California
    2500 Tulare Street, Suite 2501
    Fresno, CA 93721-1328

                                                                                           ❑ Service information continued on attached page

    I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

     November 22, 2017 Frederick Kalve
     Date                         Printed Name                                                    Signature




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


    June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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